              Case 25-01711                Doc 1          Filed 02/04/25 Entered 02/04/25 08:50:58                                  Desc Main
                                                            Document     Page 1 of 19
     Fill in this information to identify the case:

      United States Bankruptcy Court for the:

     Northern District of Illinois

                                                                         11
      Case number (If known): __________ Chapter __
                                                                                                                                              D Check if this is an
                                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             os,24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor's name                             _W_i _tte_ _nb_ e_r_,,g....L_u_t_h_er_ a_ n_i_ l_V la_.,g'-e-'-, _l n_c_. ______________________


2.    All other names debtor used            _db_ a __ iW _tte_ _nb_ e_r�g_ _ i_Vlla_ g�e_________________________
      in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names



3.     Debtor's federal Employer             XX-XXXXXXX
       Identification Number (EIN)


4.     Debtor's address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                          of business
                                             1175 E. Luther Driv e
                                             Number        Street                                         Number      Street


                                                                                                          P.O. Box

                                                Crow n Point                  IN      46307
                                             City                             State     ZIP Code          City                        State         ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                L ake Cou nty
                                             County
                                                                                                          Number      Street




                                                                                                          City                        State        ZIP Code



s. Debtor's website (URL)                    uther
                                             l     a nil fec ommu nities.o rg/witte nb ergvi lla ge

6.    Type of debtor                         IZI Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             D Partnership (excluding LLP)
                                             D Other. Specify: __________________________

Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor        Wittenberg Lutheran Village, Inc.                                                    Case number (It known),______________
              Name


                                             A. Check one:
7. Describe debtor's business
                                             IZ1 Health Care Business (as defined in 11 U.S.C.§ 101(27A))
                                             □ Single Asset Real Estate (as defined in 11 U.S.C.§ 101(51B))
                                             □ Railroad (as defined in 11 U.S.C.§ 101(44))
                                             □ Stockbroker (as defined in 11 U.S.C.§ 101(53A))
                                             □ Commodity Broker (as defined in 11 U.S.C.§ 101(6))
                                             □ Clearing Bank (as defined in 11 U.S.C.§ 781(3))
                                             □ None of the above
                                             B. Check all that apply:
                                             IZ1 Tax-exempt entity (as described in 26 U.S.C.§ 501)
                                             □§Investment
                                                 80a-3)
                                                          company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

                                             □ Investment advisor (as defined in 15 U.S.C.§ 80b-2(a)(11))
                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                See http://www.naics.com/search/ .
                                                  6233
s. Under which chapter of the                Check one:
   Bankruptcy Code is the                    D Chapter 7
   debtor filing?                            D Chapter 9
                                             1ZJ Chapter 11. Check all that apply:
                                                              D       Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                  4/01/25 and every 3 years after that).
   A debtor who is a "small business
   debtor" must check the first sub­                          D     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
   box. A debtor as defined in                                    debtor is a small business debtor, attach the most recent balance sheet, statement
   § 1182(1) who elects to proceed                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C.§ 1116(1)(B).
   under subchapter V of chapter 11
   (whether or not the debtor is a
   "small business debtor") must
                                                              □ chooses
                                                                  The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D), and it
                                                                        to proceed under Subchapter V of Chapter 11.
   check the second sub-box.
                                                              D     A plan is being filed with this petition.

                                                              □ creditors,
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                           in accordance with 11 U.S.C.§ 1126{b).

                                                              D     The debtor is required to file periodic reports {for example, 1OK and 1OQ) with the
                                                                  Securities and Exchange Commission according to§ 13 or 15{d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Fifing for Bankruptcy under Chapter 11 {Official Form 201A) with this form.

                                                              □ RuleThe12b-2.
                                                                        debtor is a shell company as defined in the Securities Exchange Act of 1934

                                             D Chapter 12


9. Were prior bankruptcy cases               IZlNo
   filed by or against the debtor
   within the last 8 years?                  i:J Yes. District ________ When ______ Case number _________
                                                                                                  MM/ DD/YYYY
   If more than 2 cases, attach a
   separate list.                                        District ________ When ______ Case number _________
                                                                                MM/ DD/YYYY
10. Are any bankruptcy cases                 0No
    pending or being filed by a
    business partner or an                   m Yes. Debtor _S_e_e_R_id_e _r____________ Relationship
    affiliate of the debtor?                             District ________________ When
   List all cases. If more than 1,                                                                                             MM / DD /YYYY
   attach a separate list.                               Case number, if known ____________

 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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              Wittenberg Lutheran Village, Inc.                                                   Case number(ilknown)______________
Debtor
              Name




11. Why is the case filed in this             Check all that apply:
   districn
                                              D Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the dale of this petition or for a longer part of such 180 days than in any other
                                                  district.

                                              0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have               IZI No
   possession of any real                     D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                                Why does the property need immediate attention? (Check all that app,y.)
   attention?
                                                       D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _________________________
                                                       D It needs to be physically secured or protected from the weather.
                                                       D It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                       D Other __________________________


                                                       Where is the property?_________________________
                                                                                 Number          Street



                                                                                 City                                            State       ZIP Code


                                                       Is the property insured?
                                                       0 No
                                                       D Yes. Insurance agency _________________________
                                                                Contact name

                                                                Phone



          Statistical and administrative information


13. Debtor's estimation of                   Check one:
   available funds                           0 Funds will be available for distribution to unsecured creditors.
                                             D After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             0 1-49                            0 1,000-5,000                             0 25,001-50,000
14. Estimated number of
                                             0 50-99                           0 5,001-10,000                            0 50,001-100,000
   creditors
                                             0 100-199                         0 10,001-25,000                           D More than 100,000
                                             0 200-999

                                             0 $0-$50,000                      D $1,000,001-$10 million                  D $500,000,001-$1 billion
15. Estimated assets
                                             0 $50,001-$100,000                0 $10,000,001-$50 million                 D $1,000,000,001-$10 billion
                                             0 $100,001-$500,000               D $50,000,001-$100 million                D $10,000,000,001-$50 billion
                                             D $500,001-$1 million             D $100,000,001-$500 million               D More than $50 billion


 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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                        Wittenberg Lutheran Village, Inc.
          Debtor                                                                                               Case number (II known)____________
                       Name


                                                       0 $0-$50,000                         0 $1,000,001-$10 million                   0 $500,000,001-$1 billion
          1s. Estimated liabilities                    0 $50,001-$100,000                   0 $10,000,001-$50 million                  0 $1,000,000,001-$10 billion
                                                       0 $100,001-$500,000                  □ $50,000,001-$100 million                 0 $10,000,000,001-$50 billion
                                                       0 $500,001-$1 million                � $100,000,001-$500 million                0 More than $50 billion



                     Request for Relief, Declaration, and Signatures


          WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy case can result in fines up to
                     $500,000 or Imprisonment for up to 20 years, or both. 18 U,S,C, §§ 152, 1341, 1519, and 3571.


          17. Declaration and signature of                  The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in this
              authorized representative of
                                                            petition.
              debtor
                                                            I have been authorized to file this petition on behalf of the debtor.

                                                            I have examined the information in this petition and have a reasonable belief that the Information Is true and
                                                            correct.


                                                       I declare under penalty of perjury that the foregoing Is true and correct.




                                                                    (!z�.�
                                                            Executed on     0210412025
                                                                            MM / DD /YYYY

                                                        X Isl                                                             Amy LaCroix
                                                            Signature of authorized representative of debtor            Printed name

                                                            Title     Secretary



          10. Signature of attorney                     X Isl Nicholas M. ""'M=il=le�r_____                                          0210412025
                                                                                                                       Date
                                                            Signature of attorney for debtor                                         MM    / DD /YYYY


                                                             Nicholas M. M-'-"-'-'
                                                                           ille   =;r'---------------------­
                                                             Prlnted name
                                                             McDonald Hopkins
                                                            Firm name
                                                             300 North LaSalle Stree t Su ite 1400
                                                            Number          Street
                                                             Chicago                                                          IL __ 60654_______
                                                             City                                                             - _e
                                                                                                                           -Stat     ""' o .,..
                                                                                                                                          _ ""'zi""'P C - de

                                                             312-280-0111                                                 nmille r@mcdonaldhopkins.com _
                                                             Contact phone                                                 Email address


                                                            ARDC6295723                                                              IL
                                                            Bar number       --------------State




            Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
                        Case 25-01711                       Doc 1           Filed 02/04/25 Entered 02/04/25 08:50:58                   Desc Main
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          Fill in this information to identify the case:

         Debto r name       Lutheran Home an d Services for the Aged, In c., et al.
                                                         _ _er_ n_______District of Illino is
                                                       _ h
          United States Bankruptcy Co urt for the: _N_ort

          Case number (If known):
                                                                                                 (State)
                                                                                                                                          D Check if this is an
                                                                                                                                             amended filing




       Official Form 204
       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
       Unsecured Claims and Are Not Insiders                                                                                                           12/15

      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.


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  2    120 S Grand Ave E, 3rd Fl                       P:
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        Springfield, IL 62763-0002                    IF:




  3     130DownersDr                                 P:
                                                                                                                                                     $255,294.00

       Downers Gro ve, L
                       I 60515                       F:
                                      _             Jchris@crimpro vements.co m
                                       _
   --Direcffnergy"susin"ess_                            ttn:LegalDept                      Trade
  4 PO Box 70220                                      P: 888-925-9 5
                                                                                                                                                     $185,587.05
                                                                      11
     Philadelphia, PA 9176
                        1                             F:
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       Chlc"90 IL 60604
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                                                                                                                                                     $64,012.21

       Meridi an, ID 83642                            F:



                                                                                                                                                     $43,449.55




This list is a consolidated list on behalfofeach ofthe debtors and debtors in possession.
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Debtor: Lutheran Home and Services for the Aged, Inc., et al.                      Case number (if known): ______




                                                                                                                                 $34,325.00




      1McKesson                                                             rade                                                 $27,049.13
 9    PO Box 204786                      P:
      Dallas, TX 75320                   F:



      NIPSCO                              tin: Legal Dept                   rade                                                 $25,723.47
 10 PO Box 13007                         P:
    Merrillville, IN 46411               F:



  - rHNlth- Cii'i S,Ni<O Co,ponrtloo     "'"'' t,g,I D-e-pt----- - -
                                                                   +-ra_d _e----+--- - -                                         $22,384.69
 11100 E Randolph St                     Ip; 800-654-7385
     Chicago, IL 60601                    F ·




                                                                            rade                                                 $22,378.00
 12 9740 E 148th St                      P:
    Noblesville, IN 46060                F:



 - - K&M Printing C�-----                f.ttn: Legal Dept                  rade                                                 $16,270.56
 13 1410 N Meacham Rd                     P:
     Schaumburg, IL 60173                 F:



                                                                                                                                 $15,350.80
 14 101 North East St                    P:
    Crown Point, IN 46307                F:



                                           ------            -------   ----+--------+   - - -
                                                                                            -'------ --- -
    Silversphere LLC                    Attn: Legal Dept                    rade                                                 $15,300.00
 15 PO Box 75701                        Ip;
    Chicago, IL 60675                    F:
                                        I ccountsreceivable@sentrics.com




                             �- 1· ,.,. "·•
                                                                            rade                                                 $15,069.55
 16 PO Box 85790                          :
    Minneapolis, MN 55485                 ·




      r�� -� �::,                                                      - -[ _ -"---- -
                                                                                            - --
                                                                                                                                 $14,88332_ _
 17




356�alal Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims          page 2
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Debtor: Lutheran Home and Services for the Aged, Inc., et al.                     Case number (if known): ______
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                                                                                                 ::"'' �
                                                                                                               unsac.
                                                                                                   Total claim, if       Deduction      Unsecured claim
                                                                                                  partially secured     for value of
                                                                                                                        collateral or
                                                                                                                           setoff
                                                                                                                                            $14,155.41




                                                                                                                                            $11,205.00




                                                                                                                                        ---$11,106.24




35655052.1
    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 3
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        Fill in this information lo identify the case and this filing:


        Debtor Name Witt en b erg Luth e ra n Vi ll age, I n c.

        United States Bankruptcy Court for the:        North ern                District of Illinois
                                                                                           (Slalo)
        Case number (// known):




       Official Form 202
       Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                       1211s

       An lndlvldual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
       this form for the schedules of assets and llabllltles, any other document that requires a declaration that Is not Included In the document,
       and any amendments of those documents, This form must state the lndlvldual's position or relationship to tho debtor, the Identity of the
       document, and the date, Bankruptcy Rules 1008 and 9011,
       WARNING-· Bankruptcy fraud Is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud In
       connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both, 18 U.S.C, §§ 152, 1341,
       1519, and 3671,


                   Declaration and signature



                I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                another Individual serving as a representative of the debtor In this case.
                I have examined the Information In the documents checked below and I have a reasonable belief that the Information Is true and correct:


                0 Schedule AJB: Assets-Rea/ and Persona/ Property (Official Form 206A/B)

                0 Schedule D: Creditors Who Have Cle/ms Secured by Property (Official Form 206D)
                0 Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                0 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                0 Schedule H: Codebtors (Official Form 206H)

                0 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                0 Amended Schedule

                IXI Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                                            ::..:r-=a'-'-'
                IZl Other document that requires a declaratlon__C=o'-'rp:..:o         te  :c....:=
                                                                                               0:....:
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               I declare under penalty of perjury that the foregoing Is true and correct.


               Executed on
                                  MM/ DD/YYYY
                                                                             G:;·��
                                                                       X Slgn�rurg•�r1ndlvldual signing on behalf of deblor

                                                                                Amy Lacroix
                                                                            Prin(ed name

                                                                                 Sec r etary
                                                                            Position or relallonshlp to debtor



       Official Form 202                             Declaration Under Penalty of Perjury for Non•lndlvldual Debtors
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                             )      Chapter 11
                                                   )
Wittenberg Lutheran Village,                       )      Case No. 25- ,_____]
Inc.,                                              )
                                                   )      (Joint Administration Requested)
                            Debtor.

                                              RIDER I

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        Each of the entities listed below (collectively, the "Debtors") filed a petition in the United
States Bankruptcy Court for the Northern District of Illinois for relief under chapter 11 of title 11
of the United States Code contemporaneously with the above-captioned debtor. The Debtors are
moving for joint administration of each of these cases.




                                 Lutheran Home and Services for the
                                 Aged, Inc.


                                 Lutheran Home for the Aged, Inc.


                                 Luther Oaks, Inc.


                                 Pleasant View Luther Home, Inc.


                                 Wittenberg Lutheran Village, Inc.


                                 Wittenberg Lutheran Village
                                 Endowment Corporation

                                 Lutheran Life Communities

                                 Lutheran Life Communities
                                 Foundation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                             )      Chapter 11
                                                    )
 Wittenberg Lutheran Village,                       )      Case No. 25-,_____]
 Inc.,                                              )
                                                    )      (Joint Administration Requested)
                              Debtor.

                                             RIDER I

                          VERIFICATION OF CREDITOR MATRIX

          I, the Corporate Secretary of the above-captioned entity named as a debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.

                                                        Isl Amy Lacroix
Date: February 4, 2025                                  By:    Amy LaCroix
                                                        Title: Corporate Secretary




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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                           )     Chapter 11
                                                  )
 Wittenberg Lutheran Village,                     )     Case No. 25- ,._ ___]
 Inc.,                                            )
                                                  )     (Joint Administration Requested)
                                Debtor.

                             CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(l) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor's equity interest:

                   '   ,'

                            Shareholder                      Approximate Percentage

                 Lutheran Life Ministries                       100% (sole member)
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                                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                          LUTHERAN LIFE MINISTRIES

                                      AND SOLE MEMBER OF
                          LUTHERAN HOME AND SERVICES FOR THE AGED, INC.,
                                       LUTHER OAKS, INC.,
                                PLEASANT VIEW LUTHER HOME, INC.,
                               WITTENBERG LUTHERAN VILLAGE, INC.,
                      WITTENBERG LUTHERAN VILLAGE ENDOWMENT CORPORATION
                                LUTHERAN LIFE COMMUNITIES ; AND
                             LUTHERAN LIFE COMMUNITIES FOUNDATION

                                                    LUTHERAN LIFE MINISTRIES

                                                              February 3, 2025

                      On the date written above, the board of directors (the "Board") of Lutheran Life Ministries,
             an Illinois not-for-profit corporation (the "Company") and the sole member of (i) Lutheran Home and
             Services for the Aged, Inc., an Illinois not-for-profit corporation ("Lutheran Home and Services"),
             (ii) Luther Oaks, Inc., an Illinois not-for-profit corporation ("Luther Oaks"), (iii) Pleasant View
             Luther Home, Inc., an Illinois not-for-profit corporation ("Pleasant View"), (iv) Wittenberg Lutheran
             Village, Inc., an Indiana non-profit corporation ("Wittenberg Lutheran Village"), (v) Wittenberg
             Lutheran Village Endowment Corporation, an Indiana non-profit corporation ("Wittenberg
             Endowment"), (vi) Lutheran Life Communities Foundation, an Illinois not-for-profit corporation
             ("LLCF"); and (vii) Lutheran Life Communities, an Illinois not-for-profit corporation ("LLC"), and
             as an indirect member of Lutheran Home for the Aged, Inc., an Illinois not-for-profit corporation
             ("Lutheran Home for the Aged" and, together with Lutheran Home and Services, Luther Oaks,
             Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, LLCF, and LLC, the
             "Entities", and individually, each an "Entity"), held a telephonic/virtual meeting at which a quorum
             was present, whereby the majority of directors present consented to taking of the following actions
             and adopted the following resolutions pursuant to the Company's Constitution/Bylaws and in
             accordance with the Illinois General Not For Profit Corporation Act of 1986, as amended:

                     WHEREAS, each Entity has been investigating strategic alternatives for addressing the
             financial needs of such Entity and its affiliates, reorganizing their business, maximizing the value
             of the assets of such Entity and its affiliates, and protecting each of Lutheran Home and Services,
             Luther Oaks, Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, and Lutheran
             Home for the Aged (collectively, the "OG Members") from the appointment of a receiver over the
             OG Members and their assets and the corresponding damaging and value destructive consequences
             of such appointment on the Entities;

                     WHEREAS, the board of directors of each Entity has determined that it is in the best
             interests of each Entity, its creditors, and other interested parties to commence a case under chapter
             11 of title 11 of the United States Code (the "Bankruptcy Code") and to take certain other actions
             to maximize the value of its assets; and
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                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties for each Entity to commence a case under the Bankruptcy Code and to take
             certain other actions to maximize the value of such Entity's assets.

                      NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                   Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that each
             Entity file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the board of directors of each Entity and each officer
             of an Entity (each, an "Authorized Party") is hereby authorized and directed to take, in each case
             with the advice of counsel and the Entity's other advisors, (a) any and all actions necessary or
             appropriate to prepare for and cause such filings to occur, including, without limitation, by causing
             the preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists,
             "first day" motions and applications, and other necessary or appropriate pleadings or papers, and
             (b) any and all other necessary or appropriate actions in furtherance of commencing a bankruptcy
             case (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                                                      Retention of Professionals
                      RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Entities' primary
             bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to advise and
             assist the Entities with respect to all aspects of the Bankruptcy Case, including, without limitation,
             (a) preparing and filing all necessary or appropriate documents to commence the Bankruptcy Case,
             (b) obtaining necessary or appropriate relief from the Court, (c) operating under chapter 11 and
             other relevant provisions of the Bankruptcy Code, and (d) otherwise performing its duties as a
             debtor and debtor-in-possession;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                    RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             fmih in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Entities' Illinois bankruptcy and restructuring counsel;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;

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                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Entities' financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Entities' claims, noticing, solicitation, balloting, and/or
             tabulation agent for the Entities in the Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                        Use of Cash Collateral

                     RESOLVED, that each Entity, by and through any Authorized Paiiy, is hereby authorized
             and instructed to make such arrangements and take such actions as it deems necessary or proper
             for the Entity to use cash collateral as a debtor-in-possession under chapter 11 of the Bankruptcy
             Code;

                                                 Other Bankruptcy Authorizations

                     RESOLVED, that the Entity and each Authorized Party is authorized and empowered to
             (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
             (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
             such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
             the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Entity in the name or otherwise on behalf of the Entity with respect to the commencement
             of the Bankruptcy Case or otherwise in furtherance of any or all of these resolutions are hereby
             ratified, confirmed, and approved; and

                    RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
             reproduction method, and such execution shall be considered valid, binding, and effective for all
             purposes.




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                    IN WITNESS WHEREOF, the Sole Member and Board have adopted these resolutions
            as of the date first written above.



                                                                LUTHERAN LIFE MINISTRIES


                                                                G;;;k.nwut
                                                                Nicholas Terrell
                                                                Corporate Secretary




                   Signature Page to Resolutions of the Board of Directors of Lutheran Life Ministries
             and Sole Member of Lutheran Home and Services for the Aged, Inc., Luther Oaks, Inc., Pleasant
                 View Luther Home, Inc., Wittenberg Lutheran Village, Inc., Wittenberg Lutheran Village
             Endowment Corporation; Lutheran Life Communities Foundation and Lutheran Life Communities
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                                   RESOLUTIONS OF THE BOARD OF DIRECTORS

                                            WITTENBERG LUTHERAN VILLAGE, INC.

                                                         February 3, 2025

                    On the date written above, the board of directors (the "Board") of Wittenberg Lutheran
            Village, Inc., an Indiana non-profit corporation (the "Company"), held a telephonic/virtual meeting
            at which a quorum was present, whereby the majority of directors present consented to taking of the
            following actions and adopted the following resolutions pursuant to the Company's Amended and
            Restated Bylaws and in accordance with the Indiana Nonprofit Corporation Act of 1991, as amended:

                    WHEREAS, the Company has been investigating strategic alternatives for addressing the
            financial needs of the Company and its affiliates, reorganizing their business, maximizing the value
            of the assets of the Company and its affiliates, and protecting the Company from the appointment
            of a receiver over the Company and its assets and the corresponding damaging and value
            destructive consequences of such appointment; and

                    WHEREAS, upon the advice of counsel and other professional advisors, the Board has
            determined that, it is in the best interests of the Company, the Company's creditors, and other
            interested parties to commence a case under chapter 11 of title 11 of the United States Code (the
            "Bankruptcy Code") and to take certain other actions to maximize the value of their assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                 Chapter 11 Bankruptcy Cases

                    RESOLVED, that in the judgment of the Board, it is desirable, and in the best interests of
            the Company, and the Company's creditors, equity holders, and other interested parties, that the
            Company file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
            States Bankruptcy Court for the Northern District of Illinois (the "Court");

                    RESOLVED, that each member of the Board and each officer of the Company (each, an
            "Authorized Party") is hereby authorized and directed to take, in each case with the advice of
            counsel and the Company's other advisors, (a) any and all actions necessary or appropriate to
            prepare for and cause such filings to occur, including, without limitation, by causing the
            preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists, "first
            day" motions and applications, and other necessary or appropriate pleadings or papers, and (b) any
            and all other necessary or appropriate actions in furtherance of commencing a bankruptcy case
            (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
            otherwise transitioning into operating under chapter 11 and any other relevant provisions the
            Bankruptcy Code;

                   RESOLVED, that the Board recommends that the sole member of the Company, Lutheran
            Life Ministries, an Illinois not-for-profit corporation, approve the Bankruptcy Case;
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                                                    Retention of Professionals

                   RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
            (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
            May 6, 2024 (as may be amended or modified from time to time) to serve as the Company's
            primary bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to
            advise and assist the Company with respect to all aspects of the Bankruptcy Case, including,
            without limitation, (a) preparing and filing all necessary or appropriate documents to commence
            the Bankruptcy Case, (b) obtaining necessary or appropriate relief from the Court, (c) operating
            under chapter 11 and other relevant provisions of the Bankruptcy Code, and (d) otherwise
            performing its duties as a debtor and debtor-in-possession;

                   RESOLVED, that the Company is hereby authorized and directed to continue to
            periodically replenish, as required and as approved by the Court, the retainer in the amount of
            $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                    RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
            forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
            modified from time to time) to serve as the Company's Illinois bankruptcy and restructuring
            counsel;

                   RESOLVED, that the Company is hereby authorized and directed to continue to
            periodically replenish, as required and as approved by the Court, the retainer in the amount of
            $100,000 previously paid to MH on account of the services rendered or to be rendered by it;

                    RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
            is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
            amended or modified from time to time) to serve as the Company's financial advisor in the
            Bankruptcy Case;

                   RESOLVED, that the Company is hereby authorized and directed to continue to
            periodically replenish, as required and as approved by the Court, the retainer in the amount of
            $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                   RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
            on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
            modified from time to time) to serve as the Company's claims, noticing, solicitation, balloting,
            and/or tabulation agent for the Company in the Bankruptcy Case;

                   RESOLVED, that the Company is hereby authorized and directed to continue to
            periodically replenish, as required and as approved by the Court, the retainer in the amount of
            $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                      Use of Cash Collateral

                   RESOLVED, that the Company, by and through any Authorized Party, is hereby
            authorized and instructed to make such arrangements and take such actions as it deems necessary



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           or proper for the Company to use cash collateral as a debtor-in-possession under chapter 11 of the
           Bankruptcy Code;

                                         Other Bankruptcy Authorizations
                   RESOLVED, that the Company and each Authorized Party is authorized and empowered
           to (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
           (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
           such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
           the purposes of these resolutions;

                   RESOLVED, that any and all past actions previously taken by the officers and/or directors
           of the Company in the name or otherwise on behalf of the Company with respect to the
           commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
           resolutions are hereby ratified, confirmed, and approved; and

                  RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
           reproduction method, and such execution shall be considered valid, binding, and effective for all
           purposes.




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                  IN WITNESS WHEREOF, the Board has adopted these resolutions as of the date first
          written above.



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                                                            Amyt9Je� cm� ·
                                                            Corporate Secretary




                             Signature Page to Resolutions of the Board ofDirectors of
                                         Wittenberg Lutheran Village, Inc.
